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 5
 6                         UNITED STATES DISTRICT COURT
 7                        EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                )
                                              )   2:08-cr-0392-GEB
10                     Plaintiff,             )
                                              )
11              v.                            )   ORDER
                                              )
12   THOMAS JESSE GARCIA,                     )
                                              )
13                     Defendant.             )
                                              )
14
15              Court-appointed defense counsel William E. Bonham
16   (“Counsel”) requests attorney's fees under the Criminal Justice Act
17   (“CJA”) for his representation of Defendant Thomas Jesse Garcia
18   (“Garcia”).     Counsel submitted billing worksheets supporting his
19   request.   Since the portion of the request addressed below is
20   unauthorized under the CJA, this Order is filed on the public
21   docket.
22              Counsel first submitted a cover letter dated February 17,
23   2009, to which he attached billing worksheets.         I responded to the
24   February 17 request as follows: “It is unclear whether some of
25   [the] billing is for practice in state court[,] so the voucher is
26   returned for clarification.     I doubt that counsel was given
27   authority under the CJA for [the] 12/15/08 billing, and am now
28   questioning whether other billing was for a state matter.”


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 1              Subsequently, Counsel submitted another cover letter
 2   dated February 27, 2009, to which he attached revised billing
 3   worksheets.   Counsel explains in the February 27 letter:
 4              I did appear at [Garcia’s] bail hearing in
                Sacramento Superior Court at the request of
 5              defendant’s attorney Deputy Public Defender K.
                Karlson in order to verify with the District
 6              Attorney and the Court, the facts and
                circumstances of the Federal Charge as well as the
 7              conditions of release, the amount of the Property
                bond, details of U.S. Pre-Trial Services
 8              supervision as well as to address any other
                questions raised at the hearing regarding the
 9              Federal case.
10              Comparison of Counsel’s billing worksheets attached to
11   his February 17 letter with those attached to his February 27
12   letter, reveals Counsel revised his billing entries for December 11
13   and 15, 2008.     Counsel’s initial and subsequent descriptions of the
14   same billing entry for December 15, 2008 are as follows:          the
15   billing attached to Counsel’s February 17 letter Counsel states,
16   “Dept. 60 state ct. conf. case w/ Judge ROMAN & DDA C. Carlson, &
17   PD Ridgeway re: hrg. Judge ordered release on $5,000 bail: T/C-S.
18   Sanchez & D a/f D’s release     2.2"; whereas the billing entry
19   attached to Counsel’s February 27 letter states, “Consulted with
20   Sac Co. PD Ridgeway, DDA C. Carlson, Superior Ct. Judge Roman as to
21   the conditions of release ordered by the US Magistrate & the amount
22   of bail   2.2.”
23              Counsel’s initial and subsequent descriptions of the same
24   billing entry for December 11, 2008 are as follows:          the billing
25   entry attached to Counsel’s February 17 letter states, “C-w/PD K.
26   Karlson in placing VOP case on calendar for 12/15 in Dept.
27   60(numerous T/C’s to PD) further arranged to add case on for night
28   ct. calendar on 12/15    1.2;” whereas the billing entry attached to


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 1   Counsel’s February 27 letter states, “C-w/PD K. Karlson re: placing
 2   VOP case on calendar 12/15 (as soon as possible) because federal
 3   release order was signed 12/8 but D will not be released until VOP
 4   matter is settled. Coordinated to secure release at both federal &
 5   state level     1.2.”
 6             It appears Counsel intended the revisions to show a
 7   connection between Counsel’s representation of Garcia in the
 8   federal and state cases, and to minimize what Counsel did on the
 9   state matter.    It is questionable why Counsel revised the character
10   of his representation of Garcia in the state matter, and thus,
11   disappointing that the Court was required to use the billing
12   entries attached to Counsel’s February 17 letter to glean the true
13   nature of Counsel’s work on Garcia’s state matter.         An attorney has
14   a duty of candor when explaining a service for which attorney’s
15   fees are sought under the CJA, and here all pertinent information
16   concerning the December 11 and 15, 2008 billing entries should have
17   been contained in the February 27 submittal.
18             Counsel was not authorized under the CJA to spend time
19   working on Garcia’s state court proceeding.        Congress did not
20   intend federal CJA resources to be used for CJA counsel to assume a
21   role tantamount to being co-counsel with a state public defender at
22   a state court proceeding, which Counsel did on December 15, 2008.
23   See generally, In re Lindsey, 875 F.2d 1502, 1507-08 (11th Cir.
24   1989) (“We conclude . . . this section [does not] entitle[] Lindsey
25   to the assistance of a federally-appointed lawyer . . . in state
26   court [since] Lindsey will be neither ‘seeking relief under’
27   section 2254 nor pursuing ‘ancillary matters’ as those terms are
28   used in section 3006A.”); House v. Bell, 332 F.3d 997, 998-99 (6th


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 1   Cir. 2003) (“We agree with our sister circuits that Section
 2   848(q)(4)(B) must be construed narrowly and agree with their
 3   conclusion that the statute does not authorize federal compensation
 4   for representation in state proceedings.”).           Nor was the time
 5   Counsel spent on December 11, 2008, “working primarily on [a] state
 6   law issue[] and proceeding[]” reasonably expended in Garcia’s
 7   federal case.      Hill v. Lockhart, 992 F.2d 801, 803-04 (8th Cir.
 8   1993).
 9                For the stated reasons, 3.4 hours shall be reduced from
10   the attorney’s fees Counsel seeks.
11   Dated:    March 12, 2009
12
13                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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